Exhibit 8
                              CERTIFICATE OF TRANSLATION


I, Bingjie Liu, an attorney licensed in the State of New York (United States) and a court-certified

interpreter of the State Court of the State of New York, am competent to translate from Chinese

into English, and certify that the translation of documents attached to this certificate is true and

accurate to the best of my abilities.




_________________________

Bingjie Liu



Date: 6/22/2023
                           Beijing NetQin Mobile Technology Co., Ltd.
                                      Shareholder Resolution


On December 23, 2019 [handwriting], shareholders determined the following at the conference
room:


   1. Agreed to discharge Zemin Xu’s Executive Director position.
   2. Agreed to appoint Youdi Nie as Executive Director.


All shareholders’ signatures or insert the company’s official seals:
                                              [signature – Zemin Xu]

 NQ International Limited Seal
                                                             12/23/2019
